       Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 1 of 26




                                  Second Supplement to
      Report on Identification Number Requirements for Mail Balloting under SB 1


                                  United States v. Texas


              United States District Court for the Western District of Texas




___________________
Eitan Hersh
Associate Professor
Department of Political Science
Tufts University
Medford, MA

February 3, 2023


                                                                                   1
      Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 2 of 26




I.        Abstract

1. This report contains three analyses. First, using new data supplied to me in January 2023,

      I calculate the number of registered voters in Texas whose registration records indicate

      that they could have a mail ballot application or carrier envelope rejected on account of

      identification verification requirements imposed by Senate Bill 1 (“SB 1”). My analysis

      shows similar results as in two prior expert reports that I have filed in this case. I find that

      1 in 7 Texans can accurately and completely fill out a mail ballot application and the

      application could still be rejected on account of SB 1’s verification procedures.

2. Second, I conduct an analysis of rejected mail ballots during the first federal election held

      since the passage of SB 1, the November 2022 election. Among other findings, I show

      that the overwhelming majority (more than 80%) of rejected mail ballots were rejected on

      account of SB 1 identification rules.

3.    Third, I analyze the behavior in the November election of individuals who I have flagged

      as having records that could lead to mail ballot rejections. Those deemed at risk have a

      significantly lower rate of successfully voting by mail than the general population.



II.       Replication of Previous Analyses and Meta-Analysis

4. In a February 28, 2022 report (“Initial Report”), I described a methodology for evaluating

      the number of Texans who were particularly vulnerable to having a mail ballot

      application rejected on account of identification verification rules in SB 1. For several

      reasons, a registered voter could fill out a mail ballot application (or mail ballot carrier

      envelope) correctly but the materials would be rejected by election officials:




                                                                                                     2
    Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 3 of 26




          a. Many Texans have multiple identification numbers because they have

              multiple Department of Public Safety IDs (“DPS IDs”). But Texas only stores

              up to one DPS ID Number on its list of registered voters (the Texas Election

              Administration System, or “TEAM”). If a registrant lists a correct DPS ID

              number on mail ballot materials but not the number that happens to be listed

              in TEAM, the voter’s mail ballot or mail ballot application will be rejected.

          b. Some Texans are listed on TEAM without a DPS ID Number. Many of these

              individuals do in fact have DPS IDs. They are instructed by the language in

              the mail ballot application and on the carrier envelope to list only their DPS

              ID when filling out mail ballot forms. However, because their DPS ID

              Number is absent from TEAM, their materials will be rejected.

          c. Administrative records are not perfect. Tens of thousands of Texans are listed

              on TEAM with typos in their Social Security numbers (“SSN”) and/or their

              DPS ID numbers. When a registered voter fills out a mail ballot application

              (or ballot carrier envelope) correctly, the material will be rejected on account

              of these administrative typos.

5. In my Initial Report, I established a methodology for linking TEAM records to DPS

   records in order to count the number of individuals who might have their materials

   rejected. In addition to explaining the methodology, I was able to test the validity of the

   methodology. I reported that 1 in 7 registered voters in Texas could have their mail ballot

   materials rejected on account of SB 1 even if they followed instructions correctly. I

   concluded that “Texas’s databases are simply not well-suited to SB 1’s demands”

   (Paragraph 114). On account of incomplete records as well as typos and other




                                                                                                 3
    Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 4 of 26




   inconsistencies across state databases, the law can prevent citizens from voting. I

   conducted subgroup analyses to show that the affected population includes many senior

   citizens, Texans living overseas, disabled veterans and homebound citizens, all of whom

   rely on mail voting more than the general population.

6. In a May 4, 2022 supplemental report (“First Supplemental Report”), in addition to some

   new analyses, I replicated the analysis described above with updated DPS and TEAM

   records. Whereas DPS and TEAM data in the Initial Report were produced in January

   2022, data in the First Supplemental Report were produced by the State in March and

   April 2022. The results were substantively the same.

7. In January of 2023, I received yet another update to DPS and TEAM records. The DPS

   records were drawn in December of 2022, and the TEAM records were compiled in early

   January 2023.

8. In Appendix A to this report, I describe the details of this additional replication with the

   new data from December 2022/January 2023. In Table A, here, I provide the top-line

   summary statistics from that analysis and place the results in context, alongside results

   from the Initial Report and First Supplemental Report.




                                                                                                  4
    Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 5 of 26




 TABLE A: Summary of Results from Three Analyses of DPS and TEAM Records


                                   Initial Report       First Suppl.         Second Suppl.
                                                          Report                Report
                                 February 2022           May 2022            January 2023
No DPS ID in TEAM;
                                      276,405              209,137                189,095
Possesses DPS ID
One DPS ID in TEAM;
                                     2,213,676            2,392,733               2,394,435
Possesses Multiple DPS IDs
Typo/Inconsistent SSN4 in
                                      44,444               44,915                  44,353
DPS vs TEAM
Typo/Inconsistent DPS ID
                                      68,190               74,897                  62,461
in DPS vs TEAM
Total Issues                        2,602,715             2,721,682             2,690,344
Total TEAM Records                  17,026,054           17,330,189            17,451,752
Issues/Total (Percent)                15.3%                 15.7%                 15.4%


9. As the first line of data in Table A shows, the results indicate a decline in the number of

    individuals who are listed in TEAM without a DPS ID Number but who do in fact

    possess a DPS ID Number. The number went from 276,000 when I first ran the analysis a

    year ago to 209,000 a few months later, to 189,000 in the current analysis.

10. During the same period, the number of Texas registered voters who are listed in DPS

    with more than one DPS ID number has increased from 2,214,000 to 2,393,000 to

    2,394,000. As noted in the Initial Report, according to SB 1, a voter may use a current or

    expired ID in filling out mail ballot materials, but TEAM only stores zero or one ID

    number per registered voter.

11. The number of typos or other data errors in the storage of Social Security numbers

    (specifically in the last four digits of the Social Security numbers (“SSN4”)) is nearly

    exactly the same across the three analyses. The number of typos or errors in DPS ID

    numbers went from 68,000 to 75,000 and then down to 62,000. The last rows of Table A

    summarize the total number of issues and divides these by the total number of TEAM



                                                                                                 5
       Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 6 of 26




       records. The analysis was performed three times over the course of twelve months with

       three different snapshots of Texas administrative data. The results are consistent, with 15-

       16% of records affected by issues that might lead to ballot materials being rejected on

       account of SB 1 requirements, even with voters dutifully following mail ballot

       instructions.



III.      Analysis of November 2022 Federal Election

12. In this section, I analyze mail ballot data from the November 2022 federal election. First,

       I measure the consistency between statistics reported by Texas and the January 3, 2023

       data transmitted to me regarding participation in the November election. Then, I report

       three key findings.

          a. I estimate that the initial mail ballot rejection rate in Texas at 4.1%. This is higher

              than the final rejection rate of 2.7% that Texas has reported.

          b. I estimate that over 80% of rejected mail ballots are rejected on SB 1 grounds. I

              count 5 Federal Post Card Application (“FPCA”) voters—military and overseas

              voters—whose ballots were rejected on SB 1 grounds.

          c. I estimate that more than 50% of individuals who are flagged for having a mail

              ballot rejected due to SB 1 did not end up voting in the November election, either

              by mail or in person.




                                                                                                   6
          Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 7 of 26




    13. According to the website of the Texas Secretary of State, in the November 2022 election,

         7,775,713 votes were cast in person and 359,526 ballots were cast by mail. 1 2 The count

         of 359,526 mail ballots submitted is higher than 345,697, which is the count provided by

         state officials to the media. 3 It is also higher than 345,679, which is the count disclosed

         by Texas in court documentation in January 2023. 4

    14. In the January 2023 TEAM database I received, there are 8,178,445 voter history records

         associated with the November 8, 2022 election. However, about 70,000 of these records

         are instances of registrants who are listed on more than one line of the TEAM database,

         for instance a line representing that they requested a mail ballot but another line

         representing that they actually voted in person.

    15. In order to gauge turnout as it is represented in the TEAM records, I retain only the most

         recent voter history record for each registrant, by selecting the date listed as most recently



1
  See “November 08, 2022 GENERAL ELECTION Cumulative Totals Thru Close of Business November 08, 2022”
https://earlyvoting.texas-election.com/Elections/getElectionEVDates.do. The counts as reported by Texas here are
dynamic and are regularly updated. The counts listed reflect numbers as of January 30, 2022. The mail ballots in this
tabulation come from county numbers and appear to reflect ballots submitted rather than ballots officially counted.
This is evidenced by the fact that the state website records ballots submitted as early as October 2, 2022, a date prior
to when signature verification committees began to meet and review mail ballots. For information on the timeline
for reviewing ballots, see: “Early Voting Ballot Board & Signature Verification Committee, Handbook for Election
Judges and Clerks 2022,” Texas Secretary of State Elections Division. See Page 9: “A [signature verification]
committee may not begin operating before the 20th day before election day.”
https://www.sos.state.tx.us/elections/forms/ballot-board-handbook.pdf.
2
 Note that there is more than one way to tabulate voter turnout. For instance, elsewhere on its website, the Texas
Secretary of State’s office refers to ballots counted in the gubernatorial election (the highest office on the ballot in
2022) as its voter turnout. See Texas Secretary of State, “Turnout and Voter Registration Figures (1970-current),”
https://www.sos.texas.gov/elections/historical/70-92.shtml. For matching turnout statistic in gubernatorial election,
see Texas Secretary of State, “Official Canvas Report,” Page 8, https://results.texas-
election.com/static/data/Reports/47009/OfficialCanvassReport.pdf?v=1673559121148.
3
 Ashley Lopez, “Despite Mail Voting Changes, Ballot Rejections Remain Relatively Low in 2022 Midterms,” NPR,
January 13, 2023.
4
 See “State Defendants’ Supplemental Objections and Responses to the United States’ Second Set of
Interrogatories,” Page 13, United States v. Texas, January 19, 2023.



                                                                                                                           7
         Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 8 of 26




         updated. After this procedure, all in-person ballots cast (election day ballots and early

         ballots, including provisional ballots) yield a tally of 7,775,194. This number is nearly

         identical to the count of 7,775,713 in-person ballots received according on the State’s

         website as referenced above. Since the website is continuously updated but the voter file I

         received is static and dated January 3rd, it is expected that the number counted on the

         website would be slightly higher than tabulated based on the static voter file. Note that

         some of these ballots (5,901 of them) have a code indicating that they were ultimately

         rejected. Nearly all the others (7,768,874) have a code indicating that they were accepted.

         The remaining 419 records have neither an accepted nor rejected code. 5

    16. 378,487 other records have a code associated with a mail ballot. Nearly all of these have

         one of the following “ballot status” codes:

         TABLE B: Ballot Status Codes of Mail Ballot Records in November 2022 Election


                        CODE Definition                                            Count
                        AB     Absentee ballot received                              1,492
                        AC     Absentee ballot cancelled by voter                   16,420
                        AM     Absentee ballot mailed                               29,719
                        AV     Absentee ballot accepted                            322,423
                        AX     Absentee ballot rejected                              8,366
                        RB     Absentee ballot returned by PO                           20
                        (No Code)                                                       47



    17. Of these records, the total ballots submitted are those with codes AB (Absentee ballot

         received), AV (absentee ballot accepted), and AX (absentee ballot rejected). These sum



5
  The method of voting is defined by a field in the database called “ballot type.” The rejected/accepted status comes
from a different field, called “ballot status”. For in-person ballot types, 7,768,874 have a code of “A” (accepted);
5,901 have a code of “R” (rejected); and 419 have no code.



                                                                                                                        8
         Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 9 of 26




        to 332,281. 6 The other codes reflect ballots that either never reached the voter (returned

        by Post Office) or were received by the voter but the voter never mailed back the ballot

        or else cancelled the request.

    18. This number (332,281) is lower than the other counts mentioned above, both in public

        reports (345,697 ballots received) and in the State’s count on its website (359,526 ballots

        received). One possible explanation for the discrepancy is if those sources include in their

        counts ballots that were cancelled by voters. Adding in these 16,420 records would bring

        the voter file count up to 348,701. However, based on the codes and definitions made

        available to me, I will count ballots submitted as only those that have the codes of AB,

        AV, or AX.

    19. According to the January 2023 data, there are 18,187 records listed with a reason that a

        ballot was rejected. Of these, 13,638 were mail ballot rejections. About 40% of records

        that indicate a reason for a mail ballot being rejected have a status code that indicates the

        ballot was accepted. Presumably, these are cases in which a ballot was initially rejected

        but eventually cured and accepted. Of all the mail ballot rejections, 11,430 (83.8%) have

        a code indicating that identification verification was the reason for the rejection. 7 With

        13,638 rejections and 332,281 mail ballots submitted, the rejection rate is estimated as

        4.1%. This number is higher than the publicly reported rate of 2.7%. 8



6
 If one calculates this number without removing the duplicate voters listed in TEAM, as described above, the total
count of submitted ballots would nevertheless be quite similar: 332,885.
7
  These codes are: IS, ISR, EVBIS, EVBISR, EVCIS, EVCISR, and ISF. The first two of these codes are identified
in Defendant’s disclosed document STATE057755. The remaining codes are identified by county disclosed
documents, such as Dallas County document, MS016221.
8
  According to NPR, 9,348 of 345,697 mail ballots were rejected. These numbers are based on “NPR inquiries with
state officials.” Ashley Lopez, “Despite mail voting changes, ballot rejections remain relatively low in 2022
midterms,” NPR, January 13, 2023


                                                                                                                     9
        Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 10 of 26




    20. Among those with rejected ballots include 5 individuals who use Federal Post Card

         Applications, which are voter registration forms used by members of the military, their

         families, and American citizens who are residing overseas.

    21. Of the 11,430 records indicating voters who were rejected on SB 1 grounds, less than half

         of them (44.4%) are associated with a registrant whose record also shows that they were

         able to vote either by mail or in person. Most (55.6%) failed to vote successfully

         following their ballot being rejected.

    22. If one calculates the rate of rejected ballots as those that appear as uncured in the TEAM

         file, the rejection rate would be lower than 4.1%. For example, of all 13,638 records

         listed with a reason that a mail ballot was rejected, 8,306 show no indication that the

         registrant successfully voted, whether by curing the mail ballot or cancelling the mail

         ballot and voting in person. If we divide 8,306 by the sum of 8,306 and 322,423 (the

         number of successful mail votes), then the uncured/uncanceled rejection rate would be

         2.5%, which is close to the rejection rate of 2.7% reported by the State. Such a

         calculation does not take into account those voters who, in order to resolve a rejection

         attributable to SB 1, needed to vote in person rather than by mail.

    23. The analysis above suggests a mail ballot rejection rate of 4.1% and an

         uncured/uncanceled rejection rate of 2.5%. However, estimates of rejection rates must be

         observed with caution, as some cured ballots may have had their codes in TEAM

         overridden once they were cured. According to Kristi Hart, the State’s Director of

         Election Administration and Voter Registration, TEAM records that are rejected but

         eventually cured would have the rejection flag overridden. 9 At the same time, in some


9
 Deposition transcript of Kristi Hart, Director of Election Administration and Voter Registration, Office of Texas
Secretary of State, Pages 133-135, United States v. Texas, June 30, 2022.


                                                                                                                     10
           Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 11 of 26




           cases registrants have multiple records on TEAM, one indicating a rejection and one an

           accepted form. Thus, from the TEAM data alone, it is not possible to offer a definitive

           account of the number of ballots rejected and cured. The numbers reported here reflect

           what can be discerned with the available data.

     24. In comparison to the March 2022 primary, which was the first election held under SB 1

           rules, two facts are apparent. First, the rejection rate reported in the March 1, 2022 state

           primary was higher than in November; 12% of ballots were reportedly rejected in

           March. 10 Second, a smaller share of voters who cast ballots did so by mail in November

           2022 (4.4% according to the State’s reporting) compared to the share in March 2022

           (5.6%). 11



     IV.       Relationship between Records Flagged and Mail Voting in 2022 Election

     25. The first part of the analysis in this report showed that 15% of Texas registered voters

           could have a problem voting by mail on account of SB 1. The second part of the analysis

           showed that some 4% of mail voters had ballots rejected on account of SB 1

           identification rules. Here, I will briefly put these two analyses in context of one another.

     26. As I noted in my First Supplemental Report, a useful analogy to the problems identified

           here is that of a hospital that has poor record-keeping practices. Suppose the hospital had

           incorrect records for 15% of the population. In any one year, few people go to the

           hospital, so it isn’t the case that 15% of the total public will be mistreated by the hospital

           on account of poor record-keeping. But when those in that 15% “at-risk” population



10
   Robert Garrett, “Rejection of Texans’ Mail Ballots Decline Markedly from the Big Surge in March Primary”,
Dallas Morning News, Dec 23, 2022.
11
   https://earlyvoting.texas-election.com/Elections/getElectionDetails.do.


                                                                                                               11
         Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 12 of 26




         suddenly need to visit the hospital, they may be inconvenienced or harmed on account of

         the record-keeping. The analogy is helpful because it clarifies that while there is a large

         pool of citizens at risk of having a problem, most will not be confronted with that

         problem in any one election year.

     27. Consider the 2.7 million records of registrants whose data demonstrate a possible barrier

         to meeting SB 1 requirements. I merge these with the records of individuals who

         requested a mail ballot in November 2022. Of all the 2.7 million registrants with record

         issues, 28,437 requested a mail ballot. It is not surprising that only a small percent of

         these 2.7 million voters requested a mail ballot, as only about 2% of all registered voters

         in Texas voted by mail in the November election. 12 Among those 28,437 registrants who

         tried to cast a mail ballot, 6,380—or 22.44%—never cast a successful mail ballot. These

         registrants include those rejected due to SB 1 and those rejected for reasons other than SB

         1, as well as those who never returned their ballot or returned their ballot late. In

         comparison, among those registrants who are not in the “at risk” pool of the 2.7 million

         voters, only 16.17% of them who began the mail voting process never cast a successful

         mail ballot (a statistically significant six percentage-point difference, p < .0001). Again,

         this baseline of 16.17% includes those whose mail ballot applications or ballots are

         rejected for reasons unrelated to SB1 as well as individuals who do not end up returning a

         mail ballot at all or returning it late. The fact that the subpopulation of 2.7 million has a




12
  According to Texas, in November 2022, there were approximately 346,000 mail voters and 17,672,000
registrants, so 2% of all registrants cast a mail ballot. This figure represents the percentage of all registered voters
who cast mail ballots in November 2022, rather than the percentage of voters who cast ballots in the November
2022 election who did so by mail, as discussed in Paragraph 24. For mail ballot estimates, see above. For
registration counts, see: https://www.sos.texas.gov/elections/historical/70-92.shtml.


                                                                                                                       12
     Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 13 of 26




     much higher rate of non-voting by mail conditional on requesting a ballot is likely to be

     related to SB 1 requirements.

V.      Conclusion

28. In this analysis, I have replicated my main analysis for the second time. The analysis

     shows (as it has shown twice before) that about 15% of registration records in Texas

     could have an issue with the SB 1 identification verification rule if the registrant was to

     apply to vote by mail. Second, I have shown that while only 2% of registrants voted by

     mail in the 2022 general election, more than 11,000 ballots were rejected on account of

     SB 1 identification issues. Most of the individuals who submitted those rejected ballots

     did not successfully vote, either by mail or in-person. Third, I have shown that “at-risk”

     registrants who tried to cast a ballot by mail in the 2022 general election were

     significantly less likely to successfully vote by mail than individuals who are not in the

     pool of the 2.7 million “at-risk” registrants.



     I declare under penalty of perjury under the laws of the United States that the forgoing is
     true and correct to the best of my knowledge.


     DATED this 3rd Day of February, 2023.




     ________________________
     Eitan Hersh




                                                                                                   13
   Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 14 of 26




   APPENDIX A: REPLICATION OF ANALYSIS USING DEC 2022/JAN 2023

          VERSIONS OF DATA


A. Databases

1. DPS. The updated DPS database I received is dated December 17, 2022. The database

   contains 37,377,423 records, an increase of almost a million records from the 36,417,304

   records identified in the March 2022 data I analyzed in my prior supplemental report. As

   in the versions previously analyzed, the December 2022 version of the data has complete

   or nearly complete records in all fields of interest (e.g., name, date of birth, address,

   gender) except that 5% of records are not populated with Social Security numbers, which

   was also the case in the prior versions. Table 1 below updates Table 1 of my Initial

   Report with the new data.

2. The percent of DPS records with missing SSNs has declined from 5.02% in the Initial

   Report to 4.98% in the First Supplemental Report, to 4.85% here. The percent of records

   missing a unique SSN9 (i.e., the number of SSNs associated with more than one DPS ID

   Number) has increased from 21.6% to 27.5% here (the First Supplementary Report had

   this rate even higher, at 28.7%).

   TABLE 1: Rate of Missing Information in DPS


                         Missing SSN                        4.85%
                         Missing unique SSN9                 27.49
                         Missing First Name                   0.00
                         Missing Last Name                    0.00
                         Missing Birthdate                    0.00
                         Missing M/F Gender                   0.00
                         Missing Street Number                0.03
                         Missing ZIP Code                     0.00
                         TOTAL IN DATABASE              37,377,423



                                                                                               14
           Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 15 of 26




       3. TEAM. The updated version of TEAM records is dated January 3, 2023. The TEAM data

           was transmitted to me as a single data file. (In prior transmissions, the data had been

           stored by county in separate files). Registered voters can be listed on many lines within

           the file. For instance, Texas counts 28,868 registered voters in Anderson County as of

           January 2023. 13 In the January 2023 TEAM export I received, there are 57,459 rows of

           registrants in Anderson County. Different rows show different interactions that

           registrants have had with the election system. I processed the data so that each person,

           represented by their Voter Unique Identification Number (VUID), is listed one time.

           Specifically, I observed the dates labeled “ballot_last_updated” and retained the most

           recent date for each registrant. I also retained registrants who had no date listed in this

           field.

       4. After the de-duplication process, the January 2023 TEAM file consists of 17,451,752

           records. I sought to confirm that this number is close to the State’s official reporting.

           According to the Secretary of State’s website, as of January 2023, there were 17,450,474

           registered Texas voters. Given the typical fluctuation in registration numbers, a

           difference of less than 0.01% suggests the data I have been given by the State is

           consistent with the State’s publicly reported information.



       B. Data Quality Checks in the TEAM Voter Records

       5. I performed the same set of data quality checks as described in my prior reports. Tables 2

           and 3 offer summary statistics on key fields of interest. In the updated data, 2.27% of

           records are missing SSN (compared 2.52% in March 2022 and 2.34% in January 2022).



13
     https://www.sos.state.tx.us/elections/historical/jan2023.shtml


                                                                                                         15
   Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 16 of 26




   In the January 2023 data, 2.62% are missing a DPS ID Number (compared to 2.85% in

   April 2022 and 3.16% in January 2022).

6. The numbers are all similar to those in my previous reports, with one exception. In the

   January 2023 data as well as the January 2022 data, less than 1% of records are missing

   street number and ZIP code. In the March 2022 data, over 20% of the records were

   missing this information.



   TABLE 2: Rates of Missing Information in TEAM


                        Missing SSN                       2.27%
                        Missing Unique SSN9                 5.86
                        Missing First Name                  0.00
                        Missing Last Name                   0.00
                        Missing Birthdate                   0.01
                        Missing M/F Gender                  3.65
                        Missing Street Number               0.07
                        Missing ZIP Code                    0.03
                        TOTAL IN DATABASE             17,451,752



       TABLE 3: Summary of Field Completeness in TEAM


      TOTAL Records in TEAM analysis                17,451,752
      Records with unique SSN9                      16,428,895               94.14%
      Records with SSN4                             17,056,442                 97.73
      Records with DPS ID Number                    16,994,311                 97.38
      Records lacking SSN4 and DPS ID No.               93,208                  0.53




C. Methodology

7. The methodology employed is the same as in my Initial Report. See Paragraphs 50-73 in

   that report for a detailed explanation. My goal is to look up each registered voter in the



                                                                                                16
     Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 17 of 26




     DPS database and determine if the registered voter has one (or more) DPS ID Numbers

     listed, and to see if there are typos or other inconsistencies between the DPS ID Numbers

     and SSN4s listed on TEAM versus those listed on the DPS Database. I create three

     linkage fields to connect the TEAM and DPS databases together. The first field is the

     nine-digit Social Security number (SSN9). The second field is the combination of name

     (First and Last) and date of birth. I call this linkage field “ND” for Name + Date of Birth.

     The third field, a combination of Address (Street Number and ZIP code) + Date of Birth

     + Gender, I call “ADG”. Table 4 (a replica of Table 6 from my Initial Report) illustrates

     the three linking fields with an example of a fictional registered voter named John Smith.

     TABLE 4: Summary of Fields Used in Linking TEAM Database to DPS Database


Field Name    Explanation                                 “John Smith” example
SSN9          9-digit Social Security number              “XXX-XX-XXXX”
ND            First name + Last name + Date of birth      “JOHNSMITH1976-07-04”
ADG           Address + Date of birth + Gender            “655782051976-07-04M”


  8. As in the prior reports, in addition to calculating statistics for the whole population of

     registered voters, I also look at several subpopulations, including registrants over 65,

     registrants who voted in 2020, registrants who have homebound/disabled veteran

     statuses, and registrants who are listed with specific codes in TEAM signaling that they

     have applied using Federal Post Card Application (FPCA) registration forms, which are

     voter registration forms used by members of the military, their families, and Americans

     who are residing overseas. I refer to these as FPCA voters. In the April report, I did a

     separate analysis of “voluntary surrender” designations in DPS records, but I concluded,

     based on disclosures from Texas, that these designations did not contain sufficient

     information to determine if the citizen holding a surrendered card would or would not be



                                                                                                  17
   Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 18 of 26




   able to use the ID card for the purposes of mail voting. Accordingly, I do not repeat the

   analysis of surrendered licenses here.

D. Linkage Part I: TEAM Records with missing DPS ID Numbers

9. I divide the analysis into two parts. First, I examine individuals whose TEAM records do

   not show any DPS ID Number. Second, I examine individuals whose TEAM records do

   show a DPS ID Number.

10. Out of 17,451,752 records in TEAM, 457,441 do not have a DPS ID Number listed in the

   voter registration records. If any of these individuals actually has a DPS ID Number, they

   are instructed by the mail ballot forms to include that DPS ID Number (and only that

   identification number). But SB 1 requires these forms—the application and the ballot

   carrier envelope—to be rejected because the DPS ID Number is not listed within

   registration records.

       TABLE 5: TEAM records by Presence/Absence of Unique SSN9 and DPS ID

       Number


                                       Unique SSN9
                                       Present    Absent TOTAL
                DPS ID     Present     16,340,755 653,556 16,994,311
                Number     Absent        88,140   369,301  457,441


11. I link the 457,441 individuals who do not have DPS ID Numbers recorded in TEAM to

   the DPS database using the SSN, ND, and ADG linkage fields.

12. I first link by SSN9. Of the 457,441 individuals without a DPS ID Number in TEAM,

   88,140 have a unique SSN9 listed (as noted in Table 5). Of those, 71.42% match to the

   DPS database by their SSN9. A total of 64.81% of the records match to a single DPS ID

   Number, and 6.61% link to multiple DPS ID Numbers.



                                                                                               18
    Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 19 of 26




 13. I next link these individuals based on ND. As noted in Table 5, most individuals who lack

    DPS ID Numbers on TEAM also lack an SSN9. However, nearly all of the records have a

    unique ND combination. Of the 457,441 lacking a DPS ID Number on TEAM, 449,224

    (98.2%) have a unique ND. Of those who have a unique ND, 23.72% match to a single

    DPS record and 4.22% match to multiple DPS records.

 14. I next link these individuals based on ADG. Of 457,441 records lacking a DPS ID

    Number on TEAM, 401,073 (87.68%) have a unique ADG. Of those with a unique ADG,

       26.81% match to a single DPS record and 3.48% match to multiple DPS records.

    TABLE 6: Results of Linking TEAM to DPS Records for TEAM Records without a

    DPS ID Number listed


         No Match to DPS     Single Match to DPS     Multiple Match to DPS       Attempted
                                                                                 to Match
SSN9          28.58%                64.81%                    6.61%                 88,140
ND             72.06                 23.72                     4.22                449,224
ADG            69.70                 26.81                     3.48                401,073
Any            58.36                 36.25                     5.39                454,073


 15. Table 6 summarizes the analysis of records that do not have a DPS ID Number listed on

    the TEAM voter file. Each of the first three rows summarizes a linkage between TEAM

    and DPS based on SSN9, ND, and ADG, respectively. For instance, the first row shows

    that I attempted to match 88,140 records in TEAM based on SSN9. This reflects the

    number of TEAM records without a DPS ID Number that include a unique SSN9. Of

    those, 28.58% did not match to DPS. The others did match.

 16. The bottom row of Table 6 provides the overall summary for the TEAM records lacking

    a DPS ID Number. Of the 457,441 total records lacking a DPS ID Number, I attempted to

    link 454,073 (99.26%) to the DPS database. (The other 0.74% did not have a unique or



                                                                                           19
   Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 20 of 26




   complete value for SSN9, ND, or ADG). Of the individuals I attempted to find on DPS,

   42% matched to a DPS record. That amounts to 189,095 registered voters. These

   individuals possess a DPS ID Number and therefore are instructed by Texas’s mail ballot

   forms to list their DPS ID Number (and only their DPS ID Number) on their mail ballot

   forms. However, if they follow those instructions and list only that DPS ID Number, SB

   1 requires their ballot applications, and their ballots, to be rejected because the number is

   not listed on TEAM.

17. Subpopulations: Of the 189,095 individuals who match to DPS and have a DPS ID

   Number even though no such number is listed on TEAM,

               •   74,982 are over age 65

               •   52,157 voted in the 2020 election

               •   28,152 are over 65 AND voted in the 2020 election

               •   1,475 have FPCA statuses

               •   391 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM without DPS ID Numbers but do in fact possess DPS ID

   Numbers.

18. Typos in Social Security Number. Among registrants who lack a DPS ID Number

   recorded on TEAM but who match to a record in DPS based on ND or ADG, I compare

   the SSN4 as recorded on the two databases. I find that 3,431 individuals who appear on

   both databases have discrepancies in their SSN4s. If the DPS records of SSN are correct,

   then these 3,431 cases result from inaccuracies on TEAM. They would cause election


                                                                                              20
        Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 21 of 26




         officials to reject mail ballot forms from citizens who include their correct SSN4 on the

         forms. A voter may include an SSN4 on ballot materials as a precautionary measure

         based on supplemental instructions from election administrators. 14



     E. Linkage Part II: TEAM Records Listed with DPS ID Numbers

     19. I now turn to the analysis of the 16,994,311 records in which a DPS ID Number is listed

         in the TEAM databases. As noted above in Table 5, 96.2% of these records have a unique

         SSN9 associated with them. I first link these records to DPS by matching on SSN9. Of

         16,340,755 records with a unique SSN9 on TEAM, 99.71% match to a record in DPS.

         However, 16.34% of the records match to more than one DPS ID Number.

     20. Next, I link records based on the ND combination, as described in Paragraph 11 above.

         The ND combination is unique for 16,869,025 individuals who have a DPS ID Number

         listed on TEAM. Of these, 97.66% match to a record in DPS. However, 15.89% match to

         more than one DPS ID Number.

     21. Next, I link records based on the ADG combination. The ADG combination is unique for

         16,316,427 individuals who have a DPS ID Number listed on TEAM. Of these, 85.19%

         match to a record in DPS. However, 11.01% match to more than one DPS ID Number.

         TABLE 7: Results of Linking TEAM to DPS Records for TEAM Records with a

         DPS ID Number listed


              No Match to DPS           Single Match to DPS            Multiple Match to DPS            Attempted
                                                                                                         to Match
SSN9                 0.29%                        83.36%                         16.34%                 16,340,755
ND                    2.34                         81.76                          15.89                 16,869,025
ADG                  14.81                         74.19                          11.01                 16,316,427

14
  See discussion of the State’s instructions in my Initial Report, Footnote 4, and in First Supplemental Report,
Paragraphs 50-55.


                                                                                                                   21
      Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 22 of 26




Any              0.82                     85.07                      14.10              16,980,669


  22. Table 7 summarizes the analysis of records with a DPS ID Number on the voter file.

      Consider the bottom row. Of the 16,994,311 records in TEAM listed with a DPS ID

      Number, I attempted to link 16,980,669 (99.92%) of them to the DPS database. The

      remaining 0.08% did not have a unique or complete record on SSN, ND, and ADG. Of

      these 16,980,669 records, 99.18% matched to a record in DPS. However, many of them

      are listed more than once on DPS, with multiple ID numbers. These 14.10% of records

      sum up to 2,394,435 records. That is, for 2.4 million Texas registered voters who have a

      DPS ID Number listed, they may put a correct DPS ID Number on their mail ballot

      application form but nevertheless have their application (or their ballot envelope) rejected

      because the DPS ID Number they write down, while correct, happens not to be the DPS

      ID Number recorded on the TEAM file.

  23. The 2.4 million figure may be an underestimate. Many DPS ID holders are listed not just

      with one DPS ID Number but they have alternative ID numbers stored as “AKA DL/ID

      Numbers.” Of the TEAM records that linked to a single DPS ID Number, 1,407,010

      of them linked to a record that listed alternative ID numbers in the “AKA DL/ID

      Number” field. During her April 20, 2022 deposition, Sheri Gibson, chief of the Texas

      DPS driver’s license division, explained that these AKA DL/ID numbers are

      identification numbers associated with the ID holder that are either erroneous or originate

      from a prior version of the State’s license system. If registrants use these alternative

      identification numbers when submitting a mail ballot application or mail ballot, they will

      also have their forms rejected because the AKA DL/ID Numbers are not the

      identification numbers on the voter registration records that are associated with these


                                                                                                 22
   Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 23 of 26




   registrants. Because some AKA ID Numbers are considered by DPS to be erroneous or

   otherwise invalid (i.e., not just “expired,” which does not impact validity for SB 1

   purposes), in order to perform a conservative analysis, I focus here on registered voters

   who have multiple DPS ID Numbers exclusive of the AKA DL/ID Numbers.

24. Subpopulations: Of the 2,394,435 individuals who match to multiple DPS ID Numbers,

               •   174,880 are over age 65

               •   1,073,661 voted in the 2020 election

               •   91,469 are over 65 AND voted in the 2020 election

               •   1,325 have FPCA status

               •   5,279 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with a DPS ID Number but possess multiple DPS ID

   Numbers. If they list a DPS ID Number other than the one that happens to be recorded in

   TEAM, SB 1 requires their mail ballot forms to be rejected.

25. Typos in Social Security Number. Looking just at the last 4 digits of Social Security

   numbers, I calculate the number of individuals in TEAM who match to records in DPS

   based on ND and ADG, but whose TEAM records show a different SSN4 than is shown

   on DPS. There are 40,922 individuals who appear on DPS with different SSN4s than

   shown on TEAM. If the DPS database is correct and these individuals mark down their

   correct SSN4 on a mail ballot application, then their application will be rejected because

   of incorrectly recorded data in TEAM.




                                                                                               23
   Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 24 of 26




       a. Subpopulations: Of the 40,922 individuals whose SSN4s listed on TEAM do not

          match the SSN4s listed in the DPS database

               •   14,945 are over age 65

               •   25,795 voted in the 2020 election

               •   10,294 are over 65 AND voted in the 2020 election

               •   100 have FPCA status

               •   110 individuals matched to DPS records indicating homebound status or

                   disabled veteran status.

   These numbers show that many active voters who are eligible to vote by mail under

   Texas law are listed in TEAM with an SSN4 that is inconsistent with the SSN4 listed in

   the DPS database.

26. Typos in DPS ID Numbers. Just as there are discrepancies between the SSNs listed in

   TEAM and the corresponding SSNs listed in DPS, there are also discrepancies in DPS ID

   Numbers. Using the methodology for calculating these discrepancies that was explained

   in my Initial Report, I calculate that 62,461 individuals have a DPS ID Number in TEAM

   that does not match any DPS ID Number in the DPS database.

       a. Subpopulations: Of the 62,461 individuals on TEAM who match to DPS on

          SSN9, ND, and ADG, but have DPS ID Numbers that do not correspond to the

          DPS database,

               •   14,602 are over age 65

               •   27,441 voted in the 2020 election

               •   9,006 are over 65 AND voted in the 2020 election

               •   75 have FPCA status


                                                                                          24
   Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 25 of 26




                •    359 individuals matched to DPS records indicating homebound status or

                     disabled veteran status.

F. Summary of Results from Updated Analysis

27. To comply with the identification verification requirements in SB 1, registered voters

   who have a DPS ID are instructed to record their ID number on a mail ballot application

   and again when submitting a mail ballot. If they do not have an ID number, they must

   record their SSN4. The analysis from the updated TEAM and DPS files show the

   following:

       a. 189,095 registered voters are not listed in TEAM with a DPS ID, but they do have

           a DPS ID. Official forms instruct these individuals to list only their DPS ID, but if

           they do so, their ballot or ballot application will be rejected.

                i.   Of these, 74,982 are over 65 years old, 28,152 of whom voted in the most

                     recent presidential election.

                ii. Of these, 1,475 have FPCA status or are listed as disabled veterans or as

                     homebound citizens.

       b. 2,394,435 individuals who are listed on TEAM with an associated DPS ID have

           more than one DPS ID Number. If they happen to write down a DPS ID number

           that is correct but is not the DPS ID number recorded in TEAM, their ballot or

           ballot application will be rejected.

                i. Of these, 174,880 are over 65 years old, 91,469 of whom voted in the most

                     recent presidential election.

                ii. Of these, 5,279 have FPCA status or are listed as disabled veterans or as

                     homebound citizens.




                                                                                                25
   Case 5:21-cv-00844-XR Document 750-5 Filed 09/05/23 Page 26 of 26




       c. 44,353 individuals have SSN4s listed in their TEAM records that do not match

           the SSN4s listed in the DPS database.

       d. At least 62,461 individuals who are listed on TEAM registration records with a

           DPS ID Number do not show the same DPS ID Number listed in the DPS

           database.

28. Altogether, 2.7 million registered voters in Texas (out of 17.5 million) are at an increased

   risk of having a mail ballot or mail ballot application rejected due to identification

   number requirements in SB 1. These numbers do not include individuals who have

   misplaced or surrendered their IDs or who mis-enter information on a mail ballot form.

   These 2.7 million individuals can correctly fill out their forms, but their applications and

   ballots would be rejected nonetheless.




                                                                                              26
